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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                      )
                                                )
        v.                                      )       Case No. 22-077 (BAH)
                                                )
 IRAJ JAVID,                                    )
                                                )
                         Defendant.             )
                                                )

                       DEFENDANT’S NOTICE OF FILING OF VIDEO
                        PURSUANT TO LOCAL CRIMINAL RULE 49

       Iraj Javid, through the undersigned, hereby gives this notice pursuant to Local Criminal

Rule 49, of the following video being provided to the Court and the government via USAFx,

relating to the sentencing hearing scheduled for February 3, 2023. As a video clip, it is not in a

format that readily permits electronic filing on CM/ECF.

             •   Exhibit 6 is a video documenting the outside of the East Rotunda doors prior to Mr.
                 Javid’s entry into the Capitol.

       The defense has no objection to this video being part of the public record.

                                               Respectfully submitted,

                                                A. J. KRAMER
                                                FEDERAL PUBLIC DEFENDER


                                                        /s/


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